          Case 1:19-vv-01858-UNJ Document 40 Filed 06/01/21 Page 1 of 2




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-1858V
                                        UNPUBLISHED


    KARA HINKLEY,                                           Chief Special Master Corcoran

                        Petitioner,                         Filed: April 30, 2021
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Chad Ray Donnahoo, Brian Elston Law, Asheville, NC, for petitioner.

Claudia Barnes Gangi, U.S. Department of Justice, Washington, DC, for respondent.

                                   RULING ON ENTITLEMENT 1

       On December 9, 2019, Kara Hinkley filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that that she suffered a Shoulder Injury Related to
Vaccine Administration (“SIRVA”) as a result of her September 10, 2018 influenza (“flu”)
vaccination. Petition at 1. The case was assigned to the Special Processing Unit of the
Office of Special Masters.

       On April 29, 2021, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report and
Proffer on Compensation at 1. Specifically, Respondent indicates that


1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
        Case 1:19-vv-01858-UNJ Document 40 Filed 06/01/21 Page 2 of 2




      [m]edical personnel at the Division of Injury Compensation Programs
      (“DICP”), Department of Health and Human Services, have reviewed the
      petition and medical records filed in this case, as well as the relevant
      medical literature regarding petitioner’s alleged injury. Based on that review,
      DICP concluded that petitioner suffered a Table SIRVA. No other causes
      for petitioner’s SIRVA were identified. See 42 U.S.C. § 300aa-13(a)(1)(B).
      In addition, given the medical records outlined above, the statutory six
      month sequela requirement has been satisfied. See id. § 300aa-11(c)(D)(I).
      Therefore, based on the current record, petitioner has satisfied all legal
      prerequisites for compensation under the Act.

Id. at 4 (footnote omitted). Respondent further agrees that

      [w]ith respect to other statutory and jurisdictional issues, the records show
      that the case was timely filed, that the vaccine was received in the United
      States, and that petitioner satisfies the statutory severity requirement by
      suffering the residual effects or complications of her injury for more than six
      months after vaccine administration. See 42 U.S.C. §§ 300aa-11(c)(1)(D)(i).
      Petitioner avers that no civil action or proceedings have been pursued in
      connection with the vaccine-related injury. See 42 U.S.C. §§ 300aa-11(a)(5)
      and -11(c)(1)(E); Am. Pet. at 2.

Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




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